        Case 1:25-cv-00604-CJN             Document 8     Filed 03/03/25      Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 ESPINOZA ESCALONA, et al.,

                 Plaintiffs,

        v.
                                                               Civil Action No. 25-0604
 KRISTI NOEM,
 Secretary of Homeland Security, et al.,

                 Defendants.


                                   JOINT STATUS REPORT

       On March 1, 2025, the Court ordered counsel to confer and submit a Joint Status Report

addressing the following issues: (1) a proposed briefing schedule for the motion seeking a

temporary restraining order; (2) a statement addressing whether a hearing on the motion is

necessary, and if so, a proposed date and time for such a hearing; and (3) a statement addressing

whether the Parties anticipate factual disputes between affiants. The parties conferred by telephone

and by email on March 3, and report as follows.

Proposed Briefing Schedule

       The motion seeks a temporary restraining order preventing the 10 individual Plaintiffs from

being transferred to the Naval Station Guantanamo Bay. Defendants do not have plans to transfer

the Plaintiffs to NSGB and will not do so for a period of at least 14 days (through March 17, 2025).

Based on this representation, the Parties propose the following schedule:

            Defendant’s opposition brief will be filed on Monday, March 10, 2025 at 3:00 pm ET.

            Plaintiffs’ reply will be filed on Friday, March 14, 2025 at 11:59 pm ET.
        Case 1:25-cv-00604-CJN             Document 8       Filed 03/03/25       Page 2 of 3




Statement on the Necessity of a Hearing

       The parties propose that the Court set the hearing for Monday, March 17, 2025, at 1:00

p.m.

Statement on Factual Disputes

       The parties are not prepared to identify factual disputes at this time. The parties will identify

disputes in response and reply briefing.

                                               Submitted MARCH 1, 2025


                                               YAAKOV M. ROTH
                                               Acting Assistant Attorney General

                                               AUGUST FLENTJE
                                               Acting Director

                                               /s/ Sarah Wilson
                                               SARAH WILSON
                                               Assistant Director
                                               U.S. Department of Justice, Civil Division
                                               Office of Immigration Litigation
                                               P.O. Box 878, Ben Franklin Station
                                               Washington, DC 20044
                                               Tel: (202) 532-4700
                                               Email: sarah.s.wilson@usdoj.gov

                                               Counsel for Defendants




Dated: March 1, 2025                              Respectfully submitted,

                                                  /s/ Lee Gelernt
Eunice H. Cho (D.C. Bar No. 1708073)              Lee Gelernt (D.D.C. Bar No. NY0408)
AMERICAN CIVIL LIBERTIES UNION                    Brett Max Kaufman (D.D.C. Bar No. NY0224)
FOUNDATION                                        Judy Rabinovitz*
915 15th Street, NW, 7th floor                    Noor Zafar*
Washington, DC 20005                              Omar C. Jadwat*
(202) 546-6616                                    Wafa Junaid*
echo@aclu.org                                     AMERICAN CIVIL LIBERTIES UNION
                                                  FOUNDATION



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        Case 1:25-cv-00604-CJN            Document 8     Filed 03/03/25        Page 3 of 3



My Khanh Ngo*                                  125 Broad Street, 18th Floor
Kyle Virgien*                                  New York, NY 10004
Noelle Smith*                                  (212) 549-2660
AMERICAN CIVIL LIBERTIES UNION                 lgelernt@aclu.org
FOUNDATION                                     bkaufman@aclu.org
425 California Street, Suite 700               jrabinovitz@aclu.org
San Francisco, CA 94104                        nzafar@aclu.org
(415) 343-0770                                 ojadwat@aclu.org
mngo@aclu.org                                  wjunaid@aclu.org
kvirgien@aclu.org
nsmith@aclu.org                                Baher Azmy*
                                               Shayana D. Kadidal (D.C. Bar No. 454248)
Arthur B. Spitzer (D.C. Bar No. 235960)        J. Wells Dixon*
Scott Michelman (D.C. Bar No. 1006945)         CENTER FOR CONSTITUTIONAL RIGHTS
AMERICAN CIVIL LIBERTIES UNION                 666 Broadway, Floor 7
FOUNDATION OF THE DISTRICT OF                  New York, NY 10012
COLUMBIA                                       T: (212) 614-6427
529 14th Street, NW, Suite 722                 bazmy@ccrjustice.org
Washington, D.C. 20045                         shanek@ccrjustice.org
(202) 457-0800                                 wdixon@ccrjustice.org
aspitzer@acludc.org
smichelman@acludc.org                          Jessica Myers Vosburgh*
                                               Center for Constitutional Rights
Deepa Alagesan (D.D.C. Bar No. NY0261)         P.O. Box 486
Kimberly Grano (D.D.C. Bar No. NY0512)         Birmingham, AL 35201
INTERNATIONAL REFUGEE                          212.614.6492
ASSISTANCE PROJECT                             jvosburgh@ccrjustice.org
One Battery Park Plaza, 33rd Floor
New York, New York 10004                       Attorneys for Plaintiffs-Petitioners
Telephone: (516) 838-7044
dalagesan@refugeerights.org                    *Pro bono representation certificates
kgrano@refugeerights.org                       forthcoming




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